           Case 1:13-cr-00405-LJO-BAM Document COURT
                        UNITED STATES DISTRICT 12 FiledFOR
                                                        11/15/13
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                                EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                        )
                                                 )
                   Plaintiff,                    )              Case No.       1:13-cr-00405-2 AWI BAM
                                                 )
     VS.                                         )              DETENTION ORDER
                                                 )
GEORGE EARL LEOTIS JERODE SMITH,                 )
                                                 )
                 Defendant.                      )
_____________________________________            )

A.   Order For Detention
     After conducting a detention hearing pursuant to 18 U.S.C. ' 3142(f) of the Bail Reform Act, the
     Court orders the above-named defendant detained pursuant to 18 U.S.C. ' 3142(e) and (i).

B.   Statement Of Reasons For The Detention
     The Court orders the defendant's detention because it finds:
       X          By a preponderance of the evidence that no condition or combination of conditions will
                  reasonably assure the appearance of the defendant as required.
       X          By clear and convincing evidence that no condition or combination of conditions will
                  reasonably assure the safety of any other person and the community.

C.   Findings Of Fact
     The Court's findings are based on the evidence which was presented in Court, and that which was
     contained in the Pretrial Services Report, and includes the following:
       X            (1) Nature and circumstances of the offense charged:
             X             (a) The crime: 18 U.S.C. ' 922(g)(1)BFelon in Possession of a Firearm
                           is a serious crime and carries a maximum penalty of: 10 years/$250,000 fine
             X             (b) The offense is a crime of violence.
                           (c) The offense involves a narcotic drug.
                           (d) The offense involves a large amount of controlled substances, to wit:

                   (2) The weight of the evidence against the defendant is high.
       X           (3) The history and characteristics of the defendant, including:
                   (a) General Factors:
                                  The defendant appears to have a mental condition which may affect
                                  whether the defendant will appear.
                                  The defendant has no family ties in the area.
                     X            The defendant has no steady employment.
                                  The defendant has no substantial financial resources.
                                  The defendant is not a long time resident of the community.
                                  The defendant does not have any significant community ties.
                                  Past conduct of the defendant:

                     X            The defendant has a history relating to drug abuse.
                     X            The defendant has a history relating to alcohol abuse.
                     X            The defendant has a significant prior criminal record.
                                  The defendant has a prior record of failure to appear at court proceedings.
                     X            The defendant has a history of violating parole.
                                  The defendant has a history of probation violations.
                     X            The defendant has a significant mental health condition.
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                       (b) Whether the defendant was on probation, parole, or release by a court:
                       At the time of the current arrest, the defendant was on:
                                       Probation
                                       Parole
                                       Release pending trial, sentence, appeal, or completion of sentence.
                       (c) Other Factors:
                                       The defendant is an illegal alien and is subject to deportation.
                                       The defendant is a legal alien and will be subject to deportation if convicted.
                                       Other:

                       (4) The nature and seriousness of the danger posed by the defendant's release are as
                       follows:

                        (5) Rebuttable Presumptions
                        In determining that the defendant should be detained, the Court also relied on the
                        following rebuttable presumption(s) contained in 18 U.S.C. '3142(e) which the Court finds
                        the defendant has not rebutted:
                                 a.     That no condition or combination of conditions will reasonably assure the
                                        appearance of the defendant as required and the safety of any other
                                        person and the community because the Court finds that the crime involves:
                                                (A) A crime of violence;
                                                (B) An offense for which the maximum penalty is life imprisonment
                                                or death;
                                                (C) A controlled substance violation which has a maximum penalty
                                                of 10 years or more; or,
                                                (D) A felony after the defendant had been convicted of 2 or more
                                                prior offenses described in (A) through (C) above, and the
                                                defendant has a prior conviction for one of the crimes mentioned in
                                                (A) through (C) above which is less than 5 years old and which was
                                                committed while the defendant was on pretrial release.
                                 b.     That no condition or combination of conditions will reasonably assure the
                                        appearance of the defendant as required and the safety of the community
                                        because the Court finds that there is probable cause to believe:
                                                (A) That the defendant has committed a controlled substance
                                                 violation which has a maximum penalty of 10 years or more.
                                                (B) That the defendant has committed an offense under 18 U.S.C.
                                                '924(c) (uses or carries a firearm during and in relation to any crime
                                                of violence, including a crime of violence, which provides for an
                                                enhanced punishment if committed by the use of a deadly or
                                                dangerous weapon or device).
D.      Additional Directives
        Pursuant to 18 U.S.C. '3142(i)(2)-(4), the Court directs that:
        The defendant be committed to the custody of the Attorney General for confinement in a corrections
        facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in
        custody pending appeal; the defendant be afforded reasonable opportunity for private consultation with
        counsel; and, that on order of a court of the United States, or on request of an attorney for the
        Government, the person in charge of the corrections facility in which the defendant is confined deliver the
        defendant to a United States Marshal for the purpose of an appearance in connection with a court
        proceeding.

IT IS SO ORDERED.

     Dated:      November 15, 2013                                    /s/ Sheila K. Oberto
                                                    UNITED STATES MAGISTRATE JUDGE
